                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


 DAKOTA BURCHARD,                                  )
                                                   )
         Plaintiff,                                )     NO. 3:23-cv-00455
                                                   )
 v.                                                )     JUDGE CAMPBELL
                                                   )     MAGISTRATE JUDGE NEWBERN
 CORECIVIC OF TENNESSEE, LLC, et                   )
 al.,                                              )
                                                   )
         Defendants.                               )


                                            ORDER

       Before the Court is Plaintiff’s motion to ascertain status. (Doc. No. 24). The motion is

GRANTED and the parties are advised as follows.

       1. The Parties’ Joint Motion for Protective Order (Doc. No. 22) is GRANTED. The

Protective Order shall be entered separately.

       2. The Parties’ Joint Motion to Modify Initial Case Management Order (Doc. No. 23)

to extend the deadlines for fact discovery and to file a case resolution plan status report

concerning case resolution efforts is GRANTED in part. The fact discovery deadline is

extended to July 1, 2024. The parties filed a joint status report on the originally set deadline of

May 28, 2024. (See Doc. No. 26). Accordingly, the motion to extend that deadline is MOOT.

       3. The parties are ORDERED to make an additional good faith attempt to resolve the

case following the close of discovery. They parties shall file an updated status report concerning

these efforts by July 31, 2024.

       4.    Plaintiff’s motion to clarify the application of Local Rule 83.04 (Doc. No. 16)




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remains pending before the Court and will be resolved in due course.

       It is so ORDERED.


                                              ______________________________________
                                              WILLIAM L. CAMPBELL, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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